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                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


 BUREAU OF CONSUMER FINANCIAL
 PROTECTION,

                   Plaintiff,                   Case No. 2:19-CV-00298-BSJ

            v.                                  DEFENDANT JOHN C. HEATH, P.C.’S
                                                (D/B/A LEXINGTON LAW)
 PROGREXION MARKETING, INC.; PGX                MOTION FOR PARTIAL SUMMARY
 HOLDINGS, INC.; PROGREXION TELE-               JUDGMENT ON COUNT I
 SERVICES, INC.; EFOLKS, LLC; CREDIT-
 REPAIR.COM, INC.; and JOHN C. HEATH,
 ATTORNEY AT LAW, PC, D/B/A/ HEATH
 P.C.,

                    Defendants.
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       DEFENDANT JOHN C. HEATH, P.C.’S (D/B/A LEXINGTON LAW)
        MOTION FOR PARTIAL SUMMARY JUDGMENT ON COUNT I

       Pursuant to Federal Rule of Civil Procedure 56, Defendant John C. Heath, P.C. (d/b/a

Lexington Law) (“Heath P.C.”), hereby moves for partial summary judgement for the reasons

detailed in the accompanying Memorandum of Law, Statement of Undisputed Material Facts,

and Appendix of Evidence.

       WHEREFORE, Heath P.C. respectfully requests that the Court grant its Motion for Par-

tial Summary Judgment on Count I, for the reasons detailed in the accompanying Memorandum

of Law, Statement of Undisputed Material Facts, and Appendix of Evidence.




Dated: August 20, 2021                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2021, I caused a true and correct copy of the foregoing

to be served upon counsel of record as of this date by electronic filing.



                                              /s/ Karra J. Porter
                                              Karra J. Porter




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                        DISTRICT OF UTAH, CENTRAL DIVISION


 BUREAU OF CONSUMER FINANCIAL
 PROTECTION,

                   Plaintiff,                   Case No. 2:19-CV-00298-BSJ

            v.                                  MEMORANDUM OF LAW IN SUPPORT
                                                OF DEFENDANT JOHN C. HEATH, P.C.’S
 PROGREXION MARKETING, INC.; PGX                (D/B/A LEXINGTON LAW)
 HOLDINGS, INC.; PROGREXION TELE-               MOTION FOR PARTIAL SUMMARY
 SERVICES, INC.; EFOLKS, LLC; CREDIT-           JUDGMENT ON COUNT I
 REPAIR.COM, INC.; and JOHN C. HEATH,
 ATTORNEY AT LAW, PC, D/B/A/ HEATH
 P.C.,

                   Defendants.
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                          INTRODUCTION AND RELIEF SOUGHT

       For decades, credit repair service providers have operated on the understanding that it is

permissible to invoice customers in arrears on a monthly basis for work that the provider has com-

pleted, provided that, when offering their services to potential customers over the phone, they do

not make specific promises or guarantees that the customer’s credit will get better, or that accurate

negative information will be removed from the customer’s credit report. That understanding

springs from the Telemarketing Sales Rule (“TSR”) promulgated by the Federal Trade Commis-

sion (“FTC”), under which the making of such promises over the phone forces the service provider

to wait six months after the “promised results” are achieved before requesting or collecting pay-

ment. This rule is known as the “Advance Fee Provision.” The FTC has consistently articulated

the view that the Advance Fee Provision’s six-month waiting period was an appropriate consumer

protection measure because a promise or guarantee to improve credit is potentially abusive; such

a promise often cannot be fulfilled and such empty promises were historically used by scammers

offering illusory assistance. Companies and law firms providing credit repair services like De-

fendant John C. Heath, Attorney at Law P.C. (“Heath P.C.”) have built their businesses around

that understanding of the law, promising nothing except good faith efforts to review their clients’

credit record and to communicate with creditors and consumer reporting agencies (i.e., the credit

bureaus).

       The Bureau of Consumer Financial Protection (“CFPB”)—which has no regulatory author-

ity to interpret the TSR—now seeks to apply the TSR in a way that threatens to drive legitimate

companies and law firms out of business. Despite the plain terms of the Advance Fee Provision,

and the purpose of its limited billing restriction, the CFPB now says anyone who offers credit


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repair services over the phone cannot send a bill for services for at least six months and only after

the services are rendered. In Count I of its Complaint, and during discovery, the CFPB has made

clear that it is taking the novel position that “promised results,” as that phrase is used in the TSR,

means “promised services,” and that the mere mention of “credit repair” over the telephone is

enough for the TSR Advance Fee Provision (and the corresponding six-month restriction) to apply.

       The consequence of this reading of the TSR would be catastrophic for Heath P.C. and its

legal clients. Unlike practically any other law firm providing advice and advocacy on its clients’

behalf, Heath P.C. would have to wait at least six months when offering services over the telephone

before it billed for those services—and it could never bill someone for whom it worked unless the

client actually prevailed. To avoid this obviously untenable result, Heath P.C. would have to take

the equally untenable step of greatly restricting client interaction over the telephone. This may be

the result the CFPB wants to achieve—making credit repair services widely unavailable by tele-

phone—but it is neither a required nor even a permissible reading of the TSR.

       Indeed, the CFPB’s reading of the Advance Fee Provision is wrong for at least five reasons.

       First, the CFPB’s interpretation is atextual. The TSR’s billing rules simply do not apply

unless the consumer was “promised results.” If no result is guaranteed, then the restriction does

not apply. Despite the CFPB’s preferred result, the TSR does not provide billing requirements

when there are “promised services,” or restrict the collection of payment to six months after “prom-

ised services are achieved”—the Advance Fee Provision says “promised results.” And the plain

reading of the TSR is that “promised results” means a promise that the service will improve a

person’s credit record (e.g., by raising a credit score or by removing negative information from a

credit record). There is no evidence that Heath P.C. routinely promised its clients that it would


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actually succeed in improving their credit record, so there is no basis for relief under Count I.

       Second, the CFPB’s interpretation is unsupported by the regulatory history. The FTC

implemented the uniquely restrictive billing rules to go after “fundamentally bogus” schemes pur-

porting to offer credit repair. The six-month rule targeted a specific practice cited in the rulemak-

ing record, where fraudsters would promise results and then use unsavory tricks to cause the credit

agencies to temporarily remove even accurate negative items. After then being billed and having

paid the scam artists, consumers would learn months later that the negative items only had been

temporarily removed but were then reinserted. The six-month restriction responds to this “funda-

mentally bogus” practice. Broadening the TSR Advance Fee Provision and its six-month re-

striction so that they indiscriminately apply to all credit repair services would sweep in legitimate

providers like Heath P.C., a result that the FTC did not intend.

       Third, the CFPB’s interpretation exceeds the Advance Fee Provision’s purpose and

source of statutory authority. Although the CFPB has the ability to enforce the TSR, see 15

U.S.C. § 6105(d), the Rule was enacted by the FTC. The FTC wanted the six-month restriction to

apply to credit repair schemes that made illusory promises of guaranteed outcomes, with no intent

to ever deliver—schemes that amounted to “outright theft.” The FTC imposed such a harsh re-

striction because it believed there were no benefits to be had for such services. By contrast, legit-

imate credit repair services do offer a benefit, so imposing the restriction on them cannot be justi-

fied under the same rationale. Indeed, nothing in the rulemaking record suggests that the FTC ever

contemplated regulating such services, and the Rule cannot be justified post hoc on that basis now.

       Fourth, the CFPB’s interpretation leads to absurd results. The restriction places credit

repair service providers in circumstances where they may never be paid for legitimate services


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rendered. Forcing credit repair providers to delay the collection of payment would put them out

of business, at least in the significant telephone credit repair market.

       Finally, the CFPB’s interpretation is unconstitutional, and thus should be avoided. The

undisputed fact is that such a rule effectively prohibits credit repair companies from marketing by

phone. Because the CFPB’s purported six-month restriction would impose this unconscionable

restriction on any business that truthfully describes its services as intended to help with credit

repair—and only on such businesses—it is a content-based limitation on commercial speech. The

CFPB’s interpretation renders the rule an unconstitutional content-based restriction because there

is no evidence that imposing such a restriction indiscriminately on all credit repair services will

advance the government’s aims of preventing fraudsters from tricking people into buying “ser-

vices” for promised results that the fraudsters would never deliver.

       This Court should hold that the TSR’s six-month limitation for requesting or receiving

payment for credit repair services applies only where the service provider promises (i.e., guaran-

tees) specific results. It is undisputed that Heath P.C. explicitly told every client relevant to this

case that it could not and did not guarantee results. As a result, the TSR’s restrictions on the

collection of advance fees does not apply to Heath P.C.’s conduct and communications with its

clients. Accordingly, this Court should enter summary judgment on Count I in favor of Heath P.C.

                                REGULATORY BACKGROUND

       Count I of the CFPB’s Complaint alleges a violation of the Telemarketing Sales Rule

(TSR), 16 C.F.R. § 310. The Federal Trade Commission (FTC) promulgated the TSR to carry out

the Telemarketing and Consumer Fraud and Abuse Prevention Act’s mandate to “prescribe rules




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prohibiting deceptive telemarketing acts or practices and other abusive telemarketing acts or prac-

tices.” 15 U.S.C. § 6102(a)(1) (“Telemarketing Act”).

       One of the TSR’s restrictions includes a restriction on asking for, or receiving, payment for

certain credit repair services for “promised results.” Specifically, the Rule says, in pertinent part

(“TSR Advance Fee Provision” or “Provision”):

       (a) Abusive conduct generally. It is an abusive telemarketing act or practice and a
       violation of this Rule for any seller or telemarketer to engage in the following con-
       duct:

       ...

               (2) Requesting or receiving payment of any fee or consideration for
               goods or services represented to remove derogatory information
               from, or improve, a person’s credit history, credit record, or credit
               rating until:

                       (i) The time frame in which the seller has represented
                       all of the goods or services will be provided to that
                       person has expired; and

                       (ii) The seller has provided the person with documen-
                       tation in the form of a consumer report from a con-
                       sumer reporting agency demonstrating that the prom-
                       ised results have been achieved, such report having
                       been issued more than six months after the results
                       were achieved. Nothing in this Rule should be con-
                       strued to affect the requirement in the Fair Credit Re-
                       porting Act, 15 U.S.C. 1681, that a consumer report
                       may only be obtained for a specified permissible pur-
                       pose.

16 C.F.R. § 310.4(a)(i)-(ii).

       The requirement to show that “promised results” had still been achieved six months later

arose from a particular type of fraudulent scheme perpetrated by “fundamentally bogus” entities

holding themselves out as credit repair companies. The FTC’s commentary on the purpose of the


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Provision when it finalized the TSR noted that the Provision was intended to target “deceptive

credit repair services,” i.e., which “promise consumers that, for a fee paid in advance, they will

improve the consumer’s credit record by removing negative information from that record.” 60

Fed. Reg. 43,841, 43,853 (Aug. 25, 1995). The FTC viewed such offerings as deceptive because

“[o]nce the fee is paid,” “the seller fails to deliver the promised services or achieve the promised

results, and the consumer’s credit record does not improve.” Id. The FTC’s current guidance

further explains the deceptive behavior that the Provision targets: a fraudster may claim to provide

credit repair services and will give the appearance of providing effective services by “flooding a

credit bureau with letters disputing the accuracy of [legitimate] negative entries,” with the credit

bureau temporarily removing the negative entries pending an investigation. FTC, Complying With

the Telemarketing Sales Rule, (June 2016, last updated Jan. 2021), https://www.ftc.gov/tips-ad-

vice/business-center/guidance/complying-telemarketing-sales-rule#creditrepair.        Faced with so

many challenges, the credit repair companies cannot complete the investigations within the statu-

torily required 30-day period, so the negative items are provisionally removed. Id. The temporary

removal of the negative entries makes it seem as if the consumer’s credit record has improved. Id.

The fraudster takes the consumer’s money, the negative entries resurface once the investigation is

complete (as there is no basis for their removal), the consumer’s credit record plummets back to

its baseline, and the fraudster will have achieved nothing for the consumer. See id. 1

       One entity commenting on the TSR Advance Fee Provision, the United States Postal Ser-

vice, shed additional light on the sort of credit repair services that the FTC intended to target with



1
  Heath P.C. did not offer this “fundamentally bogus” service, and the CFPB does not allege that
it does.
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the Advance Fee Provision. The Postal Service made clear that there was a need to distinguish

“[s]o-called credit repair services” and “actual services in which a company will interact with

creditors and credit reporting services as an advocate for the consumer.” Exhibit Q, U.S. Postal

Serv., Comment Letter on Proposed Telemarketing Sales Rule (received Mar. 31, 1995), FTC File

No. 411001. The “[s]o-called credit repair services” would usually provide just “written advice to

customers on how to obtain copies of their credit reports,” and encourage customers to “falsely

document a good credit history by leveraging one bank deposit (by using it for security on a num-

ber of loans and repaying those loans with other borrowed funds),” but do nothing else. Id.

       The National Consumer League also encouraged the FTC to adopt a rule that restricts “col-

lection of fees before services are rendered.” Exhibit R, Nat’l Consumer League, Comment Letter

on Proposed Telemarketing Sales Rule (received Mar. 28, 1995), FTC File No. 411001. “[M]ost

fraudulent operations have no intention of fulfilling their obligation,” the League observed, so “the

denial of up front money will become an important consumer protection.” Id.

       In 2002, the FTC revisited the TSR Advance Fee Provision, not to change its terms but to

further explain the Provision’s underlying rationale. The FTC believed that the Provision served

the aims of the Telemarketing Act and “consumer privacy” “less distinctly” than other prohibitions

in the TSR. 67 Fed. Reg. 4,492, 4,511 (Jan. 30, 2002). Thus, the FTC determined that it was

“appropriate and prudent” to place the TSR Advance Fee Provision within “the purview of its

traditional unfairness analysis,” as provided by the Federal Trade Commission Act. Id. The re-

stricted credit repair services, the FTC reasoned, were “unfair” because such services had no ben-

efits to offer. Id. “An important characteristic common to credit repair services” schemes prohib-

ited by the TSR, “is that in each case the offered service is fundamentally bogus.” Id. “[T]he


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essence of these schemes,” the Commission reasoned, was “to take consumers’ money for services

that the seller has no intention of providing and in fact does not provide.” Id. In other words, the

Provision was meant to prohibit unfair conduct by placing conditions on services that the Com-

mission viewed as “outright theft.” Id.

       Shortly after the FTC promulgated the TSR, Congress enacted the Credit Repair Organi-

zations Act (CROA) in 1996, which set forth a statutory construct for the operation of legitimate

credit repair services. CROA contains its own restriction on the collection of upfront payment

before any service is rendered, stating that “[n]o credit repair organization may charge or receive

any money or other valuable consideration for the performance of any service which the credit

repair organization has agreed to perform for any consumer before such service is fully per-

formed.” 15 U.S.C. § 1679b(b). At least one court has held that, under CROA, credit repair or-

ganizations may bill customers for services already performed on a periodic basis. DuCharme v.

Heath, No. 10-02763, 2010 WL 5211502, at *6 (N.D. Cal. Dec. 16, 2010). Congress subsequently

considered whether to amend CROA to prohibit the practice of billing monthly in arrears (which

Heath P.C. does), whereby service providers comply with the statute by performing upfront ser-

vices and then “separately charge a set-up fee . . . and a monthly report fee,” but Congress did not

enact any legislation on that issue. Oversight of Telemarketing Practices and the Credit Repair

Organizations Act: Hrg. Before the S. Comm. Commerce, Science & Transp., 110th Cong. 110-

1170, at 34 (July 31, 2007) (prepared statement of Joanne Faulkner, Attorney, Nat’l Ass’n of Con-

sumer Advoc., Nat’l Consumer L. Ctr., U.S. PIRG, and Consumer Fed. of Am.).




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                   STATEMENT OF UNDISPUTED MATERIAL FACTS

I.     Credit Report Errors and Consumer Complaints

       1.      Credit reports frequently contain erroneous information that hurts consumers. See

Exhibit A, CFPB-PGX-221265, FTC, Report on Credit Education and the Credit Repair Organ-

izations Act (describing results of FTC studies showing “documented problems with the accuracy

of the information in the credit reporting system.”). One FTC study, conducted at Congress’s

instruction, “showed that one in four consumers identified inaccuracies in their credit reports.” Id.

The FTC found “that a large number of errors persist in credit reports and in many instances have

a significant impact on consumers’ credit scores.” See id.; see also Exhibit B, CFPB-PGX-

141436, CFPB Credit Reporting Whitepaper (explaining “inaccuracies in [] credit files inevitably

occur” and that a consumer’s “credit score may be unfairly reduced by a negative trade line that

belongs to another consumer”); Exhibit C, CFPB-PGX-132009 at 132015, Lexington Law: The

Case for Credit Repair, Credit Reporting Errors (summarizing testimony to a Congressional com-

mittee concerning furnishers continuing to be a source of great numbers of credit reporting errors).

       2.      The CFPB frequently receives consumer complaints regarding such errors. In

2020, the number-one category of complaints cataloged in the CFPB’s Consumer Complaint Da-

tabase were complaints relating to “incorrect information on [a consumer’s credit] report.” Ex-

hibit D, Admissions by CFPB, Admission No. 51. And between December 1, 2011 and December

8, 2020, the Bureau received more than 80,000 consumer complaints characterized as “[the credit

reporting agency’s] investigation did not fix an error on [a consumer’s] report.” Id., Admission

No. 52; see also Exhibit E, CFPB-PGX-215935 at 215943, CFPB & Credit Repair (showing credit




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or consumer reporting errors accounting for 38% of consumer complaints handled by the CFPB in

2018).

II.      John C. Heath P.C.’s Services

         3.     Defendant Heath P.C., which does business as Lexington Law Firm, is a law firm

based in Salt Lake City, Utah. Exhibit F, Heath Decl.¶ 1.

         4.     Heath P.C. provides a wide range of credit repair services to help its clients enforce

their legal rights to ensure that items on the clients’ credit reports are fair, accurate and substanti-

ated. These services are intended to address the problems recognized by the FTC and the CFPB:

there are errors and inaccuracies in a consumer’s credit report that need to be corrected. Id. ¶ 2.

         5.     On behalf of its clients, Heath P.C. submits communications to the three major

consumer reporting agencies, asking them to verify that the information reported by the furnisher

is accurate, or explaining that the tradeline (a) is not the client’s, (b) was “never late,” or (c) was

not appropriately reported. Exhibit F, Heath Decl. ¶ 3; Exhibit G-1, Ulzheimer Report, at 20.

         6.     Heath P.C. works with and has contracts with all three major credit reporting agen-

cies—Equifax, Experian, and TransUnion—and uses an established process to submit challenges

to the agencies electronically. Exhibit F, Heath Decl. ¶ 4; Exhibit G-1, Ulzheimer Report, at 18-

19; Exhibit H, Heath Dep. 61:25-62:5; 286:7-10; 287:5-14.

         7.     Heath P.C. also submits “intervention” letters on behalf of clients, which include:

(a) account information requests, which ask furnishers to verify that the information in the tradeline

provided to the bureaus can be substantiated; and (b) goodwill interventions, which ask that cred-

itors forgive a client’s mistake in being late by less than 30 days. Exhibit F, Heath Decl. ¶ 5;

Exhibit G-1, Ulzheimer Report, at 20-21.


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         8.    Heath P.C.’s “focus tracks” allow clients to tailor the content and personalize chal-

lenges and intervention letters based on whether the client is facing a credit issue related to military

service, student debt, divorce, medical bills, and identity theft. Exhibit F, Heath Decl. ¶ 6; Ex-

hibit G-1, Ulzheimer Report, at 20. The focus tracks are tailored to certain laws that protect indi-

viduals who have experienced these events, such as the Servicemembers Civil Relief Act. Exhibit

F, Heath Decl. ¶ 7; Exhibit G-1, Ulzheimer Report, at 20.

         9.    Where appropriate, Heath P.C. will use “escalated approaches” on behalf of a cli-

ent. Exhibit F, Heath Decl. ¶ 8. This includes, but is not limited to, “hot document” review, in

which attorneys review documentary evidence and determine whether it supports a claim that a

negative item on a credit report is being inaccurately or improperly reported, and notarized chal-

lenges and dispute letters, which are designed to encourage an investigation by the credit reporting

agency. Id.

         10.   Heath P.C. also provides legal advice to its clients on issues such as wrongful re-

possessions, liens, and the Fair Credit Reporting Act. Exhibit F, Heath Decl. ¶ 11.

         11.   Heath P.C. educates its clients on how to improve their credit record and overall

creditworthiness. Exhibit F, Heath Decl. ¶ 12; Exhibit G-1, Ulzheimer Report, at 21.

         12.   Since March 2016, Heath P.C. has helped clients identify and remove more than 16

million negative entries from their credit reports. Exhibit G-1, Ulzheimer Report, at 21. “These

removals are overwhelmingly of items that can negatively impact consumer credit scores, such as

collection accounts, late payments, and charged off accounts.” Exhibit G-1, Ulzheimer Report,

at 24.




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       13.     From March 2016 onward, over 87% of Heath P.C.’s clients have seen at least one

negative item removed, with more than half of the firm’s clients seeing five or more removals.

Exhibit G-1, Ulzheimer Report at 21. 32% of Heath P.C.’s clients obtained removals of one to

four negative items, 18% of clients obtained between five and eight removals, and 29% of clients—

roughly 1,161,497 clients—obtained more than eight removals. Id. at 22.

       14.     Heath P.C.’s data demonstrates that the longer a client uses its services, the more

removals that client is likely to obtain. Id. at 23-24. In particular, clients obtained an average of

3.64 removals after one month of using Heath P.C.’s services. Id. at 23. By the end of the second

month, that number goes up to an average of 5.48 removals. Id. By the end of the third and fourth

months, clients obtained an average of approximately 6.99 and 8.32 removals, respectively. Id. At

six months, the average number of removals increased to 9.86. Id. Finally, after a year of engaging

Heath P.C., clients obtained an average of 14.36 removals. Id. at 24.

       15.     Historically, only a small fraction of a percentage of all removals obtained by Heath

P.C. clients were reinserted into a client’s credit report. Exhibit V, LEX0004324 (showing rein-

sertion rate of 0.0059% for data set of “nearly two million Removals” during two-month span in

2015); see also Exhibit G-1, Ulzheimer Report at 21 (“Additionally, Lexington Law clients rarely

see removed items reinserted onto their credit reports.”).

III.   Heath P.C.’s Billing Practices

       16.     Heath P.C. employs a monthly subscription model, in which it charges in arrears

for its services, generally in monthly increments. Exhibit F, Heath Decl. ¶ 13; see also Exhibit

F-2, LEX0000540, Engagement Agreement. In addition to the monthly subscription fee, Heath

P.C. charges its clients a “first work” fee, which is a one-time charge that ranges from $49.95 to


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$129.95. Exhibit F, Heath Decl. ¶ 16; see also Exhibit F-2, LEX0000540, Engagement Agree-

ment. The “first work” fee covers initial services rendered by Heath P.C., including (1) an initial

interview to set up the client’s case and record; (2) analysis of a credit report and identification of

potentially inaccurate tradelines; and, (3) preparing the initial round of letters challenging the po-

tentially inaccurate tradelines (if any are found). Exhibit F, Heath Decl. ¶ 17.

       17.     The “first work” fee is not charged until Heath P.C. completes its “first work” ser-

vices. Exhibit H, Heath Dep. at 116:8-117:9; Exhibit F, Heath Decl. ¶ 18; Exhibit O, Heath P.C.

Interrogatory Responses, No. 10; Exhibit J, PGX0060515, Master Script.

       18.     The monthly service fees range from $89.95 to $129.95 per month depending on

the different service level or product chosen by the client. Exhibit F, Heath Decl. ¶ 14; see also

Exhibit F-2, LEX0000540, Engagement Agreement. The monthly service fee is not charged until

after Heath P.C. completes work on the client’s behalf. Exhibit H, Heath Dep. at 123:25-124:10;

Exhibit F, Heath Decl. ¶ 15; Exhibit O, Heath P.C. Interrogatory Responses, No. 10; Exhibit J,

PGX0060515, Master Script; Exhibit K-1, DelPonti Report ¶ 61.

       19.     Every month, Heath P.C. conducts “Value Reconciliation” (or “ValueRec”) anal-

yses for its clients to determine whether the value of services received by an individual client is

equal to, or exceeds, the amount that the client will be billed for that month. Exhibit F, Heath

Decl. ¶ 19.

       20.     If a client’s “Value Rec” analysis shows that the client has not received the full

value of his or her upcoming monthly payment, Heath P.C. will not bill the client until sufficient

services are performed. Exhibit F, Heath Decl. ¶ 20. Heath P.C. may also recommend that the




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client either switch to a lower price product (such as credit monitoring), or cancel his or her

monthly subscription altogether. Id.

       21.     Clients may cancel Heath P.C.’s services at any time. Exhibit F, Heath Decl. ¶ 21;

Exhibit F-2, LEX0000540, Engagement Agreement; Exhibit J, PGX0060515, Master Script.

       22.     Not all clients who sign up end up paying for services. Exhibit K-1, DelPonti

Report ¶ 106. Heath P.C.’s billing model allows it to determine (within 30 days of an invoice)

whether a client will pay for its services. Id. ¶ 69. If the client does not pay the invoice, Heath

P.C. attempts to collect payment for services rendered over a predetermined period of time once

services have been performed and payment has not been received. Id. ¶ 106. After 30 days of

nonpayment, when this time period has expired, Heath P.C. discontinues providing services. Id.

       23.     A delayed billing model would require Heath P.C. to continue providing months’

worth of services to clients without knowing whether a customer will pay. Id. ¶ 69. Under that

approach, Heath P.C. would not be able to effectively evaluate the collection risk amongst those

that are able to pay to those that cannot until after the six-month timeframe. Id.

       24.     If Heath P.C. delayed accepting payments by a total of seven months, it would re-

sult in significant losses and render the telephone aspect of its business inoperable. Id. ¶ 83.

       25.     No credit repair company has established a viable telephone business model in

which it waited six months before charging fees for its services. Exhibit F, Heath Decl. ¶ 34; see

generally Exhibit K-1, DelPonti Report ¶ 57.




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IV.     Heath P.C.’s Policies and Practices Concerning Promises or Guarantees of Specific
        Results

        26.    Heath P.C. tells and has told each of its clients that it does not guarantee or promise

results. Exhibit F, Heath Decl. ¶ 22; Exhibit J, PGX0060515, Master Script; Exhibit O, Heath

P.C. Interrogatory Responses, No. 16.

        27.    At the intake stage, every client is told orally that Heath P.C. does not and cannot

promise results. Every client is told that Heath P.C. “do[es] not promise any specific outcome”

and that “every case is unique which is why [Heath P.C.] can’t promise or guarantee any specific

result from our work.” Exhibit F, Heath Decl. ¶¶ 22-23; Exhibit F-1, PGX0028796, Script; Ex-

hibit J, PGX0060515, Master Script; Exhibit L, PGX0028460, Script. Agents are required to

read these disclosures verbatim. Exhibit F, Heath Decl. ¶ 24.

        28.    Every client signs an engagement agreement with Heath P.C. Exhibit F, Heath

Decl. ¶ 25; see also Exhibit F-2, LEX0000540, Engagement Agreement. That agreement explic-

itly states that Lexington does not promise results: “[Heath P.C.] cannot guarantee and you are

not paying for a particular credit report outcome or result.” Exhibit F, Heath Decl. ¶ 25; Exhibit

F-2, LEX0000540, Engagement Agreement. In signing the engagement agreement, each client

represents that they “understand and acknowledge that [they] are not paying for, and that [Heath

P.C.] does not make, any representation, warranty, promise or guarantee as to any particular out-

come or result.” Exhibit F, Heath Decl. ¶ 25; Exhibit F-2, LEX0000540, Engagement Agree-

ment.

        29.    Heath P.C.’s website informs potential clients that “credit repair companies cannot

guarantee results.” Exhibit F, Heath Decl. ¶ 27; Exhibit F-3, PGX0027751, Heath P.C.’s Web-

site.

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       30.     Heath P.C.’s website also informs potential clients that no results are promised or

guaranteed by former client testimonials, explaining: “[w]hile this testimonial may be exciting,

[Heath P.C.] promises only to perform the steps we’ve agreed to in each client’s case and to charge

each month only for steps already completed. As with any legal work, no outcome is promised.

Your results will vary.” Exhibit F, Heath Decl. ¶ 28; Exhibit F-4, PGX0050478, Heath P.C.’s

Website.

       31.     Heath P.C.’s website also includes representations describing its services. For ex-

ample: “[Heath P.C.] is here to help you meet your credit score goals. Our credit repair services

can help you work to remove the inaccurate or unfair negative items listed on your credit report.”

Exhibit F, Heath Decl. ¶ 29; Exhibit F-5, PGX0028285, Heath P.C.’s Website; see also Compl.

¶ 112.b. This is an accurate, factual description of the aspirational objective of Heath P.C.’s ser-

vices. Exhibit F, Heath Decl. ¶ 29. Importantly, it informs consumers that Heath P.C.’s services

are designed to help consumers meet their credit score goals; it does not promise that any particular

goal or outcome will be achieved. Id. ¶ 30.

       32.     The website has also included accurate representations of Heath P.C.’s work with

former clients. Id. ¶ 31. For example, the website states: “The efforts of [Heath P.C.] have suc-

cessfully assisted clients in obtaining deletion and correction of many hundreds of thousands of

questionable credit listings.” Exhibit F-6, PGX0027986, Heath P.C.’s Website. This describes

Heath P.C.’s past client success; it makes no promise to prospective clients. Exhibit F, Heath

Decl. ¶ 31.




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V.      Former Lexington Client Stanford Littleman

        33.     Stanford Littleman enrolled in Heath P.C.’s services twice, remaining a client for

approximately two years each time. Exhibit M, Littleman Decl. ¶ 2.

        34.     According to Mr. Littleman, Heath P.C. never promised or guaranteed him any re-

sult from its credit repair services. Id. ¶ 12.

VI.     Guidance to Credit Repair Companies

        35.     In its discovery responses, the CFPB expressly admits having offered no guidance

that would have advised credit repair companies of its position that simply using the phone to offer

“credit repair” alone triggers the Provision. Exhibit D, Admissions by CFPB, Admission No. 2.

                                      LAW AND ARGUMENT

I.      Legal Standard

        Summary judgment is appropriate when “there is no genuine issue as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). “The moving

party bears the initial burden of demonstrating the absence of a genuine issue of material fact,”

and “all facts and reasonable inferences” are construed “in the light most favorable to the nonmov-

ing party.” Agnew v. Granite Seed Co., No. 2:16-cv-00887-BSJ, 2017 WL 8776902, at *3 (D.

Utah Dec. 11, 2017) (Jenkins, J.) (citations and internal quotation marks omitted). Once that initial

burden has been met, “the burden shifts to the non-moving party to set forth specific facts showing

that there is a genuine issue for trial,” i.e., “do more than simply show that there is some meta-

physical doubt as to the material facts.” Id. (citation and internal quotation marks omitted).

        The key question on Count I is a question of law: how to interpret the TSR Advance Fee

Provision’s restrictions on payment for “promised results.” See United Rentals Nw., Inc. v.


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Yearout, 573 F.3d 997, 1001 (10th Cir. 2009) (“Statutory interpretation presents a question of law,

and the facts of an individual case will not affect a court’s interpretation of a statute.”). How that

interpretation applies to the facts of this case is a mixed question of law and fact. U.S. Bank Nat’l

Ass’n ex rel. CWCapital Asset Mgmt. LLC v. Vill. at Lakeridge, LLC, 138 S. Ct. 960, 966 (2018)

(mixed questions of law and fact “ask[] whether ‘the historical facts . . . satisfy the statutory stand-

ard, or put it another way, whether the rule of law as applied to the established facts is or is not

violated’” (citation and internal quotation marks omitted)).

II.    The TSR Advance Fee Provision does not cover a contractual agreement to provide
       credit repair services; it covers only promises to achieve certain results with respect
       to credit history.

       The TSR Advance Fee Provision imposes a six-month delay in receiving payment for credit

repair services only when a credit repair company promises (i.e., guarantees) over the phone the

removal of derogatory credit information or the improvement of a consumer’s credit record. While

the CFPB construes the TSR Advance Fee Provision as reaching all credit repair services offered

over the telephone, that reading is belied by (1) the plain text of the Provision, (2) the regulatory

history underlying the Provision, (3) the limitations placed on the source of authority for the Pro-

vision, and (4) the absurd consequences that would follow if the CFPB’s interpretation were valid.

       In the twenty-plus years between the TSR Advance Fee Provision’s promulgation and the

filing of this case, neither the FTC nor the CFPB ever publicly took the position the CFPB now

advances in this litigation: that the offer of credit repair services necessarily implies a “promised

result.” The CFPB’s interpretation of the Provision is entitled to no deference, as the CFPB lacks

any authority to promulgate rules under the Provision.             15 U.S.C. § 6102(b); Martin v.




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Occupational Safety & Health Review Comm’n, 499 U.S. 144, 152 (1991) (the promulgating au-

thority “is in a better position” to interpret promulgated regulations). 2

        A.      The plain text requires that “results” be “promised” for the six-month limi-
                tation to apply, and “results” does not mean “services.”

        Interpreting a regulation begins with “the plain language of the regulation[].” Time Warner

Entm’t Co., L.P. v. Everest Midwest Licensee L.L.C., 381 F.3d 1039, 1050 (10th Cir. 2004). “As

with statutory interpretation, in interpreting regulations, [courts] strive to construe the text so that

all of its provisions are given effect and no part is rendered superfluous.” Id. And when interpret-

ing a statute or regulation, “a dictionary is a valuable resource for interpretation.” Cyprus Plateau

Min. Corp. v. Commonwealth Ins. Co., 972 F. Supp. 1379, 1384 (D. Utah 1997) (Jenkins, J.).

        The CFPB’s case hinges on the notion that “promised results” means “promised services.”

The CFPB has expressed this view numerous times, asserting:

    •   “[A]ny Heath PC advertisement, representation, telemarketing statement, or other state-
        ment describing [Heath P.C.’s] services as ‘credit repair’ and/or representing, explicitly or
        implicitly, alone or in combination, that [Heath P.C.’s] credit repair service removes de-
        rogatory or negative information from, or improves, a consumer’s credit history, credit
        record, or credit rating promises a result within the meaning of 16 C.F.R. § 310.4(a)(2).”
        Exhibit I, CFPB Interrogatory Responses, No. 1; Exhibit N, Kim Dep. at 176:3-17.

    •   “[T]he name Credit Repair itself conveys that this company repairs credit” and is a promise
        “[t]hat the company repairs credit.” Exhibit N, Kim Dep. at 175:21-176:19.

    •   “[I]f [a] script or representation identifies the service as credit repair . . . that’s promising
        results.” Exhibit N, Kim Dep. at 180:16-23.



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  Moreover, the CFPB’s interpretation of the Provision here is entitled to no deference because the
interpretation is merely “a convenient litigating position” and a “post hoc rationalization advanced
by an agency seeking to defend past agency action under attack”—indeed, an interpretation of an
agency rule that it did not promulgate, and a rule for which the CFPB does not profess to have
issued any guidance to assist credit repair companies on how to comply. Christopher v. SmithKline
Beecham Corp., 567 U.S. 142, 155-56 (2012).
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That view is completely untethered from the plain meaning of the regulation. A “promise” is

“[t]he manifestation of an intention to act or refrain from acting in a specified manner, conveyed

in such a way that another is justified in understanding that a commitment has been made.” Prom-

ise, Black’s Law Dictionary (11th ed. 2019). A “result” is a “consequence, effect, or conclusion.”

Result, Black’s Law Dictionary (11th ed. 2019). Read together, a “promised result” is the “mani-

festation of an intention to act . . . in a specified manner” to render “a consequence, effect, or

conclusion.”

        “Result” does not mean “service,” because a “service” is the act of doing something useful

to provide a “consequence, effect, or conclusion.” See Service, Black’s Law Dictionary (11th ed.

2019) (defining “service” as “the performance of some useful act or a series of acts for the benefit

of another,” i.e., “an intangible commodity in the form of human effort, such as labor, skill, or

advice”). Indeed, many services are provided with the intent of helping someone—such as ser-

vices provided by lawyers, doctors and financial analysts—without a promised result or a guaran-

tee of success. If the FTC wanted to say “promised services” as part of the TSR Advance Fee

Provision, it knew exactly how to say so—the subsection begins by limiting when a seller or tele-

marketer may “[r]equest[] or receiv[e] payment of any fee or consideration for goods or services.”

But the TSR Advance Fee Provision does not say a seller must wait six months after providing

services before requesting or receiving payment; it requires a seller to wait six months after “the

promised results have been achieved,” with the understanding that “results” must be “promised”

in the first place.

        Contrast the TSR Advance Fee Provision to CROA’s advance fee provision. CROA places

restrictions specifically on the charging or receipt of money “for the performance of any service


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which the credit repair organization has agreed to perform for any consumer before such service

is fully performed.” 15 U.S.C. § 1679b. 3 There is no mention of results, only the “service which

the credit repair organization has agreed to perform.” CROA also defines “credit repair organiza-

tion” as a person that agrees to “sell, provide, or perform . . . any service . . . for the express or

implied purpose of—(i) improving any consumer’s credit record, credit history, or credit rating;

or (ii) providing advice or assistance to any consumer with regard to any activity or service de-

scribed in clause (i).” Id. § 1679a(3)(A). If the FTC intended for the TSR Advance Fee Provision

to cover promised services, not promised results, it would have written a rule that looks like

CROA. It did not; it imposed a six-month waiting period for “goods or services represented to

remove derogatory information from, or improve, a person’s credit history, credit record, or credit

rating” for which there are “promised results” that can be “achieved.” 16 C.F.R. § 310.4(a)(2)(ii).

       The CFPB says a “promise” need not be a guarantee, but only “good grounds for expecting

a particular outcome.” Exhibit N, Kim Dep. at 177:2-8. In other words, the CFPB contends that

merely giving the impression that a result is likely can constitute a “promise.” But again, that

interpretation would be wrong for at least two reasons. First, a “promise” can mean “expectation

that something will turn out well,” but the adjectival form of promise-as-expectation is “promis-

ing,” not “promised.” See Promising, Merriam-Webster Dictionary (11th ed. 2003) (defining

“promising” as “likely to succeed or to yield good results”). The TSR Advance Fee Provision

does not apply to credit repair services offering “promising results”; it says “promised results,”

meaning something has been guaranteed. Second, if the FTC wanted to restrict even giving the



3
 Heath P.C. fully complies with CROA’s advance fee provision, and this lawsuit does not assert
otherwise.
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impression that a credit improvement or removal of derogatory information would result, it knew

how to do so. The FTC imposed such a prohibition for advance fees for “obtaining a loan or other

extension of credit”—the prohibition applies when the seller “guarantee[s] or represent[s] a high

likelihood of success in obtaining or arranging a loan or other extension of credit.” 16 C.F.R.

§ 310.4(a)(3) (emphasis added). There is no such language for credit repair services.

         B.    The FTC’s commentary on the TSR Advance Fee Provision confirms that the
               Provision applies only to promises to deliver specific results with respect to a
               consumer’s credit record, not to provide credit repair services more gener-
               ally.

         The FTC’s pronouncements on the TSR Advance Fee Provision confirm that the Provision

was intended to prohibit only promises to deliver specific results with respect to a person’s credit

history—namely, promises to improve a credit report or score, or to remove an accurate, negative

tradeline.

         Agency commentary that accompanies a promulgated regulatory provision often sheds

light on what the provision is supposed to mean. Ellis v. J.R.’s Country Stores, Inc., 779 F.3d

1184, 1199 (10th Cir. 2015) (acknowledging “the propriety of seeking guidance from [the

agency’s] preambles to its regulations”); Martin v. Occupational Safety Health & Review Comm’n,

941 F.2d 1051, 1056 (10th Cir. 1991) (“As [a] secondary source of interpretation, we may consult

the preamble accompanying a regulatory enactment.”). “The preamble, which gives official inter-

pretive guidance to the regulation, should be accorded due deference unless clearly erroneous or

contrary to the terms of the regulation.” Henderson v. Stanton, 76 F. Supp. 2d 10, 15-16 (D.D.C.

1999).

         The FTC makes clear in the commentary accompanying the TSR Advance Fee Provision

that it intended for the Provision to cover chimerical promises to repair credit, such as promises to

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remove accurate, derogatory information. These promises were illusory (and thus deceptive) be-

cause they could never be delivered—neither the Fair Credit Reporting Act, nor any other law,

allows for promises to remove accurate, fairly reported derogatory information from a credit re-

port. As the FTC explained in a 1996 action involving an earlier billing practice for credit repair

services involving Heath P.C’s predecessor:

       Credit repair services that promise, in return for an advance fee, to help improve a
       consumer’s credit rating, without regard to the reasons why the customer’s credit
       rating is unfavorable, necessarily abuse the vast majority of their customers, be-
       cause the vast majority of those customers cannot be helped. Consumers have no
       right to expunge accurate, albeit unfavorable, information from their credit records
       until the seven to ten year period specified in the Fair Credit Reporting Act
       (“FCRA”), 15 U.S.C. §§ 1681 et seq., has elapsed.

Exhibit S, Mem. of Points and Authorities in Support of Intervenor Federal Trade Commission’s

Motion for Partial Summary Judgment at 6-7, Tennessee v. Lexington Law Firms, No. 3-96-0344

(M.D. Tenn. Dec. 16, 1996). Indeed, the ultimate resolution of that case was reached against the

backdrop of the FTC’s articulation of what was permitted: Heath P.C.’s predecessor was permitted

to “invoice and receive payments for specific work already performed, provided that [it] disclosed

to the client the work that [it] will perform and the fee to be charged for such work in advance of

performing such work, without providing any kind of promised results.” Exhibit T, Tennessee

Consent Order, at 5 (emphasis added).

       Over the last two decades, the FTC’s views regarding the purpose of the TSR Advance Fee

Provision have not changed. In its current guidance on the Provision, the FTC states:

       This prohibition is directed at the deceptive marketing and sale of bogus credit re-
       pair services; it is not directed at the non-deceptive telemarketing of secured credit
       cards or legitimate credit monitoring services. No one can permanently remove or
       “erase” negative entries on a consumer’s credit report if the information is accurate
       and current. Deceptive credit repair services may be able to cause negative credit
       information to disappear from a consumer’s credit report temporarily by flooding a

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         credit bureau with letters disputing the accuracy of the negative entries. But once
         the credit bureau verifies with creditors that the negative items are accurate, they
         will reappear on a consumer’s credit report and stay there for up to seven years and,
         in the case of a bankruptcy, for 10 years. . . . No one can do anything to “repair” a
         bad credit report that is accurate and up to date.

FTC, Complying With the Telemarketing Sales Rule (June 2016, last updated Jan. 2021),

https://www.ftc.gov/tips-advice/business-center/guidance/complying-telemarketing-sales-

rule#creditrepair.

         Put differently, the FTC intended for the TSR Advance Fee Provision to target scammers

who took advantage of a statutory mechanism that took derogatory information off of a consumer

report while it was in the process of being challenged and reinvestigated. 4




4
    As the FTC explained in another early TSR Advance Fee Provision case:

         The six-month payment delay required by the Telemarketing Rule is necessary
         because of the dispute resolution procedures of Section 611 of the FCRA. 15 U.S.C.
         § 1681i. Under that section, if an item in a credit report is disputed, the consumer
         reporting agency must reinvestigate the item. If the investigation is not completed
         within 30 days, industry practice has been to delete the item until the investigation
         is completed. (This practice has been made mandatory by Section 2409 of the
         Consumer Credit Reform Act of 1996, P.L. 104-208, 110 Stat. 3009-1286.) A
         credit repair service may take advantage of this situation by disputing every
         unfavorable item in a consumer's report. Many such disputes, regardless of their
         merit, are unlikely to be resolved within 30 days. As a result, the disputed items
         will be removed temporarily from the consumer's report. By this means, a credit
         repair service may be able to produce a report that appears to have been “repaired.”
         Such “repairs” will, however, be short-lived because unfavorable items will be
         restored to the consumer's credit report once investigations have been completed.
         The six-month delay prevents credit repair services from using such interim reports
         as evidence of having improved a consumer's credit.

Exhibit U, Mem. of Points & Authorities of Amicus Curiae Federal Trade Commission at 6 n.7,
Illinois v. National Credit Management Group, No. 96-C-2073, 1997 WL 35410876 (N.D. Ill.
filed Jan. 8, 1997) (“National Credit FTC Amicus Br.”).
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       When the FTC promulgated the TSR Advance Fee Provision, it made clear that the Provi-

sion covered “promise[s] that, for a fee paid in advance, [the seller or telemarketer] will improve

the consumer’s credit record by removing negative information from the record.” 60 Fed. Reg. at

43,853 (emphasis added). It wanted to prevent circumstances where, “[o]nce the fee is paid,

. . . the seller fails to deliver the promised services or achieve the promised results, and the con-

sumer’s credit record does not improve.” Id. In other words, the FTC viewed “promised services”

and “promised results” to be distinct concepts, rather than the same as the CFPB argues now. As

the FTC later explained, the Provision exists because, “in each case the offered service is funda-

mentally bogus.” 67 Fed. Reg. at 4,511 (emphasis added).

       C.      The CFPB’s reading of the TSR Advance Fee Provision exceeds the scope of
               the Provision’s purpose and statutory authority.

       An agency rule may not “exceed[] the bounds of the permissible.” Barnhart v. Walton,

535 U.S. 212, 218 (2002). “Administrative regulations are not absolute rules of law and should

not be followed when they conflict with the design of the statute or exceed the administrative

authority granted.” Usery v. Kennecott Copper Corp., 577 F.2d 1113, 1118 (10th Cir. 1977).

       The CFPB’s reading of the TSR Advance Fee Provision places the Provision well beyond

the purpose and scope of the TSR, which is to regulate abusive conduct over the telephone. The

FTC initially promulgated the TSR Advance Fee Provision as a means of implementing Congress’s

directive in the Telemarketing Act to implement rules to prevent abusive practices in telemarketing

that intruded on consumer privacy. Telemarketing Sales Rule, 60 Fed. Reg. 8,313 (Feb. 14, 1995).

Later, however, the FTC realized that the TSR Advance Fee Provision could not be justified under

that source of legislation because the TSR Advance Fee Provision did little to move the needle on

consumer privacy. 67 Fed. Reg. at 4,511. So the FTC reexamined the regulation and determined

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that it was “appropriate and prudent” to justify the TSR Advance Fee Provision as a regulation on

per se unfair activity. Id.

        The FTC determined that the scams prohibited by the Advance Fee Provision were unfair

because they simply had no benefits to offer: “in each case the offered service is fundamentally

bogus.” Id. “It is the essence of these schemes to take consumers’ money for services that the

seller has no intention of providing and in fact does not provide.” Id. Fraudsters would use the

FCRA’s dispute-resolution mechanism to deliver the illusion of rehabilitated credit; the fraudster

would challenge a tradeline, get it temporarily removed from a credit report (and improve a score

accordingly), and take the consumer’s money, only to have the tradeline returned it was confirmed

to be accurate. See supra pp. 5-8, 22-24, n.4. Because the conduct targeted by the TSR Advance

Fee Provision amounted to “outright theft,” and because consumers had “no way to know these

offered services were illusory” when communicating with service providers solely over the phone,

the FTC concluded that the practices targeted by the TSR Advance Fee Provision met the statutory

criteria for unfairness. Id.

        That is not the conduct that the CFPB seeks to regulate here. Unlike a “promise” to remove

accurate, derogatory credit information, which is what the FTC intended to target because it

amounted to “outright theft,” the offering of a service for credit repair—with no guarantees as to

results—that assist a consumer in identifying inaccurate or unsubstantiated tradelines has value.

Not even Congress took the view that credit repair services had no intrinsic worth and were per se

fraudulent; CROA imposes certain protections, but does not prohibit credit repair outright, let

alone through the use of particular media. And the benefits are not hypothetical, but proven: Heath

P.C. has a track record of removing inaccurate, negative tradelines from client credit reports.


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Exhibit G-1, Ulzheimer Report, at 4, 21. Moreover, unlike the fraudulent conduct targeted by the

FTC as part of the TSR Advance Fee Provision, which resulted in the vast majority of challenged

tradelines being restored once the credit bureau’s investigation was complete, Heath P.C.’s track

record shows historically that the removals it obtains on behalf of its clients stick, with an imma-

terial amount that ever reappear. Exhibit V, LEX0004324 (showing reinsertion rate of 0.0059%

for data set of “nearly two million Removals” during two-month span in 2015); see also Exhibit

G-1, Ulzheimer Report at 21 (“Additionally, Lexington Law clients rarely see removed items re-

inserted onto their credit reports.”). The services go beyond the identification and challenging of

inaccurate tradelines; Heath P.C. educates clients on how to maintain an excellent record if credit

repair efforts are successful. Exhibit G-1, Ulzheimer Report, at 21.

       Indeed, Heath P.C.’s credit repair services are valuable given the widespread errors in

credit reports that hurt consumers, a feature of credit reports that the FTC and the CFPB have

repeatedly detailed. According to the FTC, “one in four consumers identified inaccuracies in their

credit reports.” Exhibit A, CFPB-PGX-221265, FTC, Report on Credit Education and the Credit

Repair Organizations Act. Further, data from the FTC studies “suggest[s] that a large number of

errors persist in credit reports and in many instances have a significant impact on consumers’ credit

scores.” Id.; see also Exhibit B, CFPB-PGX-141436 at 14123, 14126, CFPB Credit Reporting

Whitepaper (explaining “inaccuracies in [] credit files inevitably occur” and that a consumer’s

“credit score may be unfairly reduced by a negative trade line that belongs to another consumer”);

Exhibit C, CFPB-PGX-132009 at 132015, Lexington Law: The Case for Credit Repair, Credit

Reporting Errors (summarizing Sandra Braunstein’s 2007 testimony to a Congressional commit-

tee concerning furnishers continuing to be a source of great numbers of credit reporting errors).


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The CFPB’s own website also informs consumers that “[i]ncorrect reporting of account status,”

“[d]ata management errors,” and “[b]alance [e]rrors” are “common errors in credit reports.”

CFPB, What are Common Credit Report Errors that I Should Look for on My Credit Report? (June

8, 2017), https://www.consumerfinance.gov/ask-cfpb/what-are-common-credit-report-errors-that-

i-should-look-for-on-myRcredit-report-en-313/.

       Had the FTC held out the TSR’s Advance Fee Provision as a regulation on legitimate credit

repair services, rather than a regulation on scams amounting to “outright theft,” the Provision

would doubtless have been considered arbitrary and capricious. All of the evidence that the FTC

discussed in promulgating the Advance Fee Provision concerned illegitimate fraudsters holding

themselves out as credit repair providers willing to make an illusory promise for a quick buck; the

FTC did not consider at all whether legitimate credit repair service providers, who did not make

any promises or guarantees, were also worth regulating. There would thus be no “rational connec-

tion” between a regulation that sought to restrict payments to legitimate credit repair service pro-

viders and the “relevant data” relating only to fraudsters purporting to tout (but not actually offer-

ing) credit repair. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983). Put plainly, there is no basis in the rulemaking record to suggest that the

regulation of legitimate credit repair providers offering services without promises is what the FTC

intended to regulate, and the CFPB cannot supply that rationale for the TSR Advance Fee Provi-

sion now. See SEC v. Chenery, 318 U.S. 80, 94 (1943) (“The Commission’s action cannot be

upheld because findings might have been made and considerations disclosed which would justify

its order as an appropriate safeguard for the interests protected by the Act. There must be such a

responsible finding. There is no such finding here.”).


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       The TSR and its Advance Fee Provision are ultimately protections for consumers with

respect to use of the telephone; they are not an invitation for the CFPB to regulate how an entire

industry does business. Nothing in the Telemarketing Act nor the TSR allows the CFPB to turn

the TSR Advance Fee Provision from a telephone-conduct rule into a fee rule that requires all

credit repair services to operate on contingency when offering their services over the phone, espe-

cially where there are no deception or illusory promises involved. The CFPB’s interpretation of

the TSR Advance Fee Provision marks a far departure from the TSR’s purpose of prohibiting

abusive conduct over the telephone, and in the case of the TSR Advance Fee Provision, to shield

telephone callers from “fundamentally bogus” schemes that offered no benefits.

       D.      The CFPB’s reading of the TSR Advance Fee Provision leads to absurd re-
               sults.

       Courts must avoid interpreting regulations in a way that “would produce an absurd and

unjust result.” Sunshine Haven Nursing Operations, LLC v. U.S. Dep’t of Health & Human Servs.,

742 F.3d 1239, 1250 (10th Cir. 2014); e.g., In re Investment Bankers, Inc., 4 F.3d 1556, 1564 (10th

Cir. 1993) (rejecting a reading of a statute “because it would lead to an absurd result clearly at

odds with the intention of Congress”). An absurd interpretation may serve as “further evidence”

that the regulation “fails to carry out congressional intent.” New York v. U.S. Dep’t of Labor, 363

F. Supp. 3d 109, 141 (D.D.C. 2019), appeal docketed, No. 19-5125 (D.C. Cir. filed Apr. 30, 2019).

       The CFPB’s reading of the TSR Advance Fee Provision—that a credit repair business can

only charge six months after showing improvement in a client’s credit—is unworkable and absurd,

as the CFPB would put credit repair providers in a position where they may never be able to be

paid even where valuable services are rendered. This is because client conduct outside the control

of credit repair providers like Heath P.C. could prevent the providers from demonstrating that their

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services improved a client’s credit record, even if they did. This can happen in at least two ways.

First, a client may engage Heath P.C. to challenge items on her credit report that she believes are

inaccurate, but after Heath P.C. provides its services (with a disclaimer that no results can be guar-

anteed), a furnisher could refuse to remove the inaccurate item or the challenged items are deter-

mined to be accurate and remain on the report. In such circumstances, Heath P.C. could never be

paid because the client’s credit report would not show six months later the results of the services

provided by Heath P.C.

        Second, the consumer could successfully work with Heath P.C. over the phone to identify

inaccuracies in his tradelines, have inaccurate derogatory information removed, and see an im-

proved credit score—only to engage in other activity in the six-month waiting period that the

CFPB’s interpretation would impose that would impair the consumer’s credit report. Because the

consumer (and the consumer’s furnishers) control the credit report and Heath P.C. does not, the

consumer would reap the benefits of Heath P.C.’s successful services and engage in conduct that

results in a credit record that is just as marred as the one he had before engaging the service pro-

vider’s credit repair services. Through no fault of Heath P.C., it could not charge for the valuable

services it rendered. 5

III.    The CFPB’s interpretation of the TSR Advance Fee Provision imposes unconstitu-
        tional burdens on commercial speech.

        “Under the constitutional-avoidance canon, when statutory language is susceptible of mul-

tiple interpretations, a court may shun an interpretation that raises serious constitutional doubts


5
  There are other practical reasons the CFPB’s interpretation is unworkable. For instance, during
the six month (or longer) period Heath P.C. must wait to bill, a client could move, or change their
contact information or even name (as is common in the case of marriage), making it difficult to
even deliver (let alone collect on) a request for payment.
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and instead may adopt an alternative that avoids those problems.” Jennings v. Rodriguez, 138 S.

Ct. 830, 836 (2018). There are two potential interpretations of the Provision: the one advanced

by Heath P.C. here, which requires a specific promise to remove derogatory information or im-

prove a credit record before the TSR Advance Fee Provision applies, or the one advanced by the

CFPB, where the mere provision of credit repair services offered over the phone triggers the Pro-

vision.

          The CFPB’s formulation of the TSR Advance Fee Provision would proscribe lawful com-

mercial speech: it would punish credit repair service providers for choosing to communicate with

customers over the telephone by forcing them to wait six months after the services are rendered

for payment to be made. Indeed, there is no dispute that such a rule, while masquerading as a

timing rule, in fact amounts to a complete prohibition on the use of telephone marketing by credit

repair providers, because no company can commercially provide credit repair services if they have

to wait for six months before billing. Because the CFPB’s proposed interpretation of the Provision

would prohibit credit repair companies from marketing to prospective clients by telephone, it im-

pinges on Heath P.C.’s First Amendment rights to engage in commercial speech.

          Commercial expression that “concern[s] lawful activity and [is] not . . . misleading” is pro-

tected by the First Amendment. Utah Licensed Beverage Ass’n v. Leavitt, 256 F.3d 1061, 1066

(10th Cir. 2001). “Speech . . . is protected,” “even though it may involve a solicitation to purchase

or otherwise pay or contribute money.” Aptive Envt’l, LLC v. Town of Castle Rock, 959 F.3d 961,

981 (10th Cir. 2020) (quoting City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 420-21

(1993)). Courts must consider three factors in determining whether the proscription of commercial

speech is lawful: “[1] whether the State’s interests in proscribing it are substantial, [2] whether


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the challenged regulation advances these interests in a direct and material way, and [3] whether

the extent of the restriction on protected speech is in reasonable proportion to the interests served.”

Aptive, 959 F.3d at 986-87 (10th Cir. 2020) (quoting Edenfield v. Fane, 507 U.S. 761, 767 (1993)).

       The CFPB’s construction of the TSR Advance Fee Provision is unconstitutional because

there is no evidence that applying the Provision to all credit repair services marketed and offered

over the telephone, regardless of whether one promises results, will directly and materially advance

the FTC’s stated interest in protecting consumers from deceptive conduct.

       A.      The TSR Advance Fee Provision is a content-based restriction on truthful,
               non-misleading speech.

       The TSR Advance Fee Provision is a content-based restriction on speech. The First

Amendment applies not only to restrictions that prevent a person from speaking, but also re-

strictions that “impose[] a financial burden on speakers because of the content of their speech.”

Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105, 115 (1991).

The TSR Advance Fee Provision is a content-based restriction because it applies only to those

sellers who offer credit repair services over the telephone (among other services restricted by the

TSR). It is a restriction on speech because, under the CFPB’s proposed interpretation, it penalizes

every credit repair companies by prohibiting “[r]equesting” payment of a fee until six months after

“promised results” have been “achieved,” 16 C.F.R. § 310.4(a)(2)(ii), a restriction that effectively

means this class of speakers cannot use the telephone to market at all.

       Moreover, the TSR Advance Fee Provision is subject to the full weight of constitutional

scrutiny for commercial speech. If the TSR Advance Fee Provision were limited to illusory prom-

ises to obtain certain results—the removal of accurate, derogatory information or the sudden im-

provement of a credit score or record—the Provision would regulate only false, misleading speech,

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and thus the government would have more leeway in regulating that speech. After all, the FTC

sought only to regulate the offering of a service that was “fundamentally bogus” or impossible to

render—the erasure of accurate, substantiated tradelines, which the FCRA does not allow. 67 Fed.

Reg. at 4,511. That is how the FTC justified the constitutionality of the TSR Advance Fee Provi-

sion in the Provision’s early days: as a restriction on deceptive speech, specifically promises to

deliver “a benefit (improved credit) that few, if any, will receive.” Exhibit U, Nat’l Credit FTC

Amicus Br. at 14. The government’s ability to restrict commercial speech reaches its peak when

it concerns “the dissemination of commercial speech that is false, deceptive, or misleading.” Zau-

derer v. Office of Disciplinary Counsel of Supreme Ct. of Ohio, 471 U.S. 626, 638 (1985).

       But the CFPB’s interpretation does not stop at speech concerning an “essentially bogus”

service; it goes after legitimate credit repair services, too. The Bureau’s capacious reasoning strips

the Provision of its constitutional moorings. The FTC once justified the TSR Advance Fee Provi-

sion because it served to address “the problem created by service providers who make a promise

that, by its nature, cannot be kept for most consumers.” Exhibit U, Nat’l Credit FTC Amicus Br.

15. Now, the CFPB proposes a reading of the Provision that serves as an attack on non-deceptive

commercial speech. If a credit repair service chooses to offer its honest services over the tele-

phone, it is penalized for how it chooses to speak with a six-month waiting period for payment. 6

(And that is only if the service is offered over the telephone; the CFPB has made no suggestion

that offering the service online or in person warrants the same sort of restriction.) Moreover, there


6
  Heath P.C., for example, expressly disclaims the ability to guarantee results and says up front
that the services rendered may lead to nothing, thus quashing any potential for the deception that
concerned the FTC when it promulgated the TSR in 1994. There would be nothing misleading
about the speech in question, yet under those circumstances, the CFPB would seek to restrict that
speech.
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is no dispute of fact that such a waiting period actually amounts to a complete prohibition, because

no company can profitably abide by the waiting period. Exhibit F, Heath Decl. ¶ 10; Exhibit K-

1, DelPonti Report ¶ 85.

       The TSR Advance Fee Provision, as the CFPB interprets it, is not a regulation of deceptive

speech and thus, the scrutiny ordinarily afforded to restrictions on commercial speech should apply

to the CFPB’s interpretation of the TSR Advance Fee Provision here.

       B.      There is no evidence to support the notion that imposing the TSR Advance
               Fee Provision on all credit repair service providers who provide services over
               the telephone will directly advance the government’s interests in protecting
               consumers from unfair conduct.

       A restriction on commercial speech can only stand if it “directly advance[s] th[e] substan-

tial interest[s]” asserted by the government. Pac. Frontier v. Pleasant Grove City, 414 F.3d 1221,

1231 (10th Cir. 2005). The government bears the burden of “demonstrat[ing] that the harms it

recites are real and that its restriction will in fact alleviate them to a material degree.” Edenfield,

507 U.S. at 770-71. This requirement, which is “critical,” means that a regulation “must do more

than provide only ineffective or remote support for the government’s purpose.” Aptive, 959 F.3d

at 988 (citations and internal quotation marks omitted).

       A restriction on commercial speech can survive constitutional scrutiny only if there is evi-

dence showing that the restriction would “directly advance” the government’s cited interests in

addressing a specific problem. Id. at 989. In Aptive, for example, the Tenth Circuit considered a

city’s 7 p.m. curfew on commercial solicitation, citing two distinct governmental interests: public

safety and protecting homeowner privacy. Id. at 989-90. To prove that the curfew supported its

public safety interest, the city provided evidence that the police had received complaints about

door-to-door solicitations. Id. at 990. Only one of the complaints about evening solicitations,

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however, was about commercial solicitations, and there was no record suggesting that any of the

solicitations led to criminal charges. Id. In holding that this evidence was inadequate to justify

the curfew, the court observed that the curfew was “not crafted well to materially alleviate [the

city’s] posited threat to public safety.” Id. “[T]he possibility of a connection between crime and

commercial door-to-door solicitation,” the court held, was “insufficient to establish a ‘concrete,

nonspeculative harm’ to public safety.” Id. at 992 (emphasis in original). The Tenth Circuit also

held that the privacy interest was unsubstantiated; common sense that 7 p.m. was a “reasonable

time” to expect privacy provided “no basis to infer that the privacy ‘harms’” were real. Id. at 997-

98.

       Much like the city in Aptive, the CFPB cannot offer any evidence that even suggests the

FTC thought placing restrictions indiscriminately on all credit repair services offered over the

telephone would “directly advance” the FTC’s stated interest of protecting consumers from unfair

conduct. 67 Fed. Reg. at 4,511. The only evidence that the FTC considered was complaints about

“fundamentally bogus” schemes where fraudsters “take consumers’ money for services that the

seller has no intention of providing and in fact does not provide.” Id. (emphasis added). The FTC

did not consider whether deception existed where, as here, a legitimate credit repair service did

not promise specific results, but instead offered to help the consumer find and challenge inaccurate

tradelines and educate the consumer about how to maintain a healthy credit record. Indeed, a key

commenter, the Postal Service, remarked that there was a distinction between such legitimate ser-

vices and “so-called credit repair services” that did nothing for the consumer. Exhibit Q, U.S.

Postal Serv., Comment Letter on Proposed Telemarketing Sales Rule (received Mar. 31, 1995),




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FTC File No. 411001. The CFPB cannot plausibly say that the FTC considered evidence that

credit repair services as a whole were unfair to consumers.

       Thus, there is no evidence that the FTC even considered, never mind studied, the possibility

that the mere offering of credit repair services over the telephone would subject consumers to

unfair conduct. As a result, there is no basis for concluding that the TSR Advance Fee Provision,

as applied to all credit repair service providers who reach out to consumers by telephone, directly

advances the government’s asserted interest.

IV.    Defendants do not “promise results,” i.e., guarantee they will remove accurate de-
       rogatory information or improve credit.

       A.      Heath P.C. tells every client that it cannot and does not promise results.

       The TSR Advance Fee Provision does not apply to Heath P.C. because it did not promise

results to its clients. To the contrary, Heath P.C. communicated plainly to every prospective client

that no result could be guaranteed. Every telemarketer of Heath P.C.’s services follows mandatory

scripting that requires them to read to every consumer a statement that informs them that Heath

P.C. “does not promise any specific outcome” and that “every case is unique which is why [Heath

P.C.] can’t promise or guarantee any specific result from our work.” Exhibit F, Heath Decl. ¶ 24;

Exhibit F-1, PGX0028796, Script. Every client also signs an engagement letter with Heath P.C.

that repeats this “no-promised-result” representation. In its engagement agreements, Heath P.C.

stated that it “cannot guarantee [and the consumer is] not paying for a particular credit report out-

come or result; . . . only . . . for Lexington’s efforts on [the consumer’s] behalf.” Exhibit F, Heath

Decl. ¶ 25; Exhibit F-2, LEX0000540, Engagement Agreement.

       Heath P.C.’s website also states “credit repair companies cannot guarantee results.” Ex-

hibit F, Heath Decl. ¶ 27; Exhibit F-3, PGX0027751, Heath P.C.’s Website. The testimonials on

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that website note that “[w]hile this testimonial may be exciting, [Heath P.C.] promises only to

perform the steps we’ve agreed to in each client’s case and to charge each month only for steps

already completed. As with any legal work, no outcome is promised. Your results will vary.” Ex-

hibit F, Heath Decl. ¶ 28; Exhibit F-4, PGX0050478, Heath P.C.’s Website.

       Because there is no dispute that Heath P.C. told every client that it did not promise results,

Heath P.C. was not required to wait six months before billing its clients and the TSR Advance Fee

Provision did not apply to its billings.

       B.      As an example, a Heath P.C. client was not promised results and the CFPB
               cannot state a claim regarding him.

       The example of client Stanford Littleman illustrates the inapplicability of the TSR Advance

Fee Provision to Heath P.C. Mr. Littleman is a two-time client of Heath P.C., having used Heath

P.C.’s services initially for about two years, then later on in 2017, for another period of about two

years. Exhibit M, Littleman Decl. ¶ 2. While Mr. Littleman had a positive experience with Heath

P.C., with the firm able to secure an improvement in Mr. Littleman’s credit score, id. ¶¶ 7, 10, he

“understood that [Heath P.C.] could not guarantee any results,” id. ¶ 12. Mr. Littleman recognized

that Heath P.C.’s “efforts might not be successful.” Id. “[Heath P.C.] did not promise [Mr. Lit-

tleman] anything different before [he] signed up or while [he] was a client.” Id. Given these facts,

there is no basis to have required that Heath P.C. wait six months before billing Mr. Littleman.

Mr. Littleman readily understood the common sense distinction between a commitment to provide

services aimed at achieving a certain purpose and a guarantee that those services would be suc-

cessful.




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                                 *       *      *       *       *

       These undisputed facts show that Heath P.C. told every client it could not promise results

when offering services to its clients over the telephone. The TSR Advance Fee Provision therefore

does not apply; it is intended only for instances where “results” to remove derogatory information,

or improve a person’s credit history, credit record, or credit rating, are “promised.” 16 C.F.R.

§ 310.4(a)(2)(ii). Accordingly, Heath P.C. is entitled to summary judgment on Count I, which

alleges a violation of the TSR Advance Fee Provision.




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                                      CONCLUSION

       For the foregoing reasons, this Court should grant summary judgment in Defendant John

C. Heath, P.C.’s favor on Count I.

Dated: August 20, 2021                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2021, I caused a true and correct copy of the foregoing

to be served upon counsel of record as of this date by electronic filing.



                                              /s/ Karra J. Porter
                                              Karra J. Porter




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